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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

         UNITED STATES OF AMERICA,
         Plaintiff,
         v.
         ALL ASSETS IN AUSTRALIA AND                 Civil Action No.: 1:15-cv-1106
         ELSEWHERE LISTED IN
         ATTACHMENT A, AND ALL                       The Honorable Liam O’Grady
         INTEREST, BENEFITS, AND
         ASSETS TRACEABLE THERETO,
         Defendants in Rem.



                            REQUEST FOR ENTRY OF DEFAULT

To:   Clerk of Court

       Plaintiff, United States of America, hereby requests the entry of default, pursuant to Rule

55(a) of the Federal Rules of Civil Procedure, against the defendant assets as the claims to these

assets filed by Kim Dotcom, Mathias Ortmann, Megamedia Limited, Megarotic Limited,

Megaupload Limited, and Megavideo Limited have been stricken by this Court and all other

potential claimants claiming an interest have failed to plead or otherwise defend.   A declaration

in support of this request is attached hereto.
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                             Respectfully submitted,

                             Dana J. Boente
                             United States Attorney

                       By:                   /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of January 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to all counsel of record.




                                                                  /s/
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                                             Attorney for the United States of America
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